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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,            No.   CR. S-07-165 LKK
12                Plaintiff,
13        v.                              ORDER
14   DARIUS LOUIS,
15                Defendant.
16

17        Defendant Darius Louis asks this court to seal the case

18   files in his criminal case “from non-party view and access.”      ECF

19   No. 292.   However, defendant has not shown that any “applicable

20   law,” see E.D. Cal. R. 141(a), requires or permits the court to

21   seal the case from public view.      Nor has he made a showing

22   sufficient to overcome the “strong presumption in favor of access

23   to court records.”    Migliaccio v. Allianz Life Insurance Company

24   (In re Midland Nat. Life Ins. Co. Annuity Sales Practices

25   Litigation), 686 F.3d 1115, 1119 (9th Cir. 2012).

26        This court recognizes the difficulties faced by formerly

27   incarcerated persons – especially when they have already paid

28   their debts to society, and shown a willingness and ability to
                                         1
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 1   lead productive lives – when employers fire them, or refuse to
 2   hire them, because of their criminal records.         Congress is free
 3   to address this issue if it sees fit to do so.         However,
 4   defendant has not shown that this court has the authority to
 5   protect him from such consequences by the roundabout method of
 6   denying employers access to his criminal record.
 7        Defendant’s Request To Seal Documents (see ECF No. 292), is
 8   accordingly DENIED.
 9        IT IS SO ORDERED.
10        DATED:   July 2, 2014.
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